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                                          UNITED​ ​STATES​ ​DISTRICT​ ​COURT
                                          SOUTHERN​ ​DISTRICT​ ​OF​ ​FLORIDA
                                                    CIVIL​ ​DIVISION

 DONNA​ ​FINKEL​ ​and​ ​JOHN​ ​CIVETTI
 801​ ​N.​ ​Victoria​ ​Park​ ​Road
 Ft.​ ​Lauderdale,​ ​FL​ ​33304

                               Plaintiffs,                        Case​ ​No.​ ​17-CV-

                    v.
                                                                  Trial​ ​By​ ​Jury​ ​Demanded
 M&T​ ​BANK,
 ℅​ ​Robert​ ​G.​ ​Wilmers,​ ​Chairman​ ​&​ ​CEO
 1​ ​Fountain​ ​Plaza
 Buffalo,​ ​NY​ ​14202

           and

 BAYVIEW​ ​LOAN​ ​SERVICING,​ ​LLC
 ℅​ ​Corporation​ ​Service​ ​Company
 1201​ ​Hays​ ​Street
 Tallahassee,​ ​FL​ ​32301

                   Defendants.
 ___________________________________/

                         COMPLAINT​ ​FOR​ ​DAMAGES​ ​WITH​ ​JURY​ ​DEMAND

           Plaintiffs, Donna Finkel and John Civetti, by and through counsel, for their Complaint

 against Defendant M&T Bank and Defendant Bayview Loan Servicing, LLC, and in support

 thereof​ ​state:

           1.        Plaintiffs Donna Finkel and John Civetti (“Plaintiffs” or “Borrowers”), are the

 owners of real property located at and commonly known as 801 N. Victoria Park Road, Ft.

 Lauderdale,​ ​FL​ ​33304​ ​(the​ ​“Home”).

           2.        Borrowers currently maintain the Home as their primary, principal residence and

 has​ ​so​ ​maintained​ ​for​ ​all​ ​times​ ​relevant​ ​to​ ​the​ ​allegations​ ​of​ ​this​ ​Complaint.
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           3.        Defendant Bayview Loan Servicing (“Bayview”) is the master servicer of a note

 (the “Note”) and a mortgage on the Home that allegedly secures the Note (the “Mortgage”)

 (collectively​ ​referred​ ​to​ ​hereinafter​ ​as​ ​the​ ​“Loan”).

           4.        Defendant M&T Bank. (“M&T”) is the current sub-servicer on the Loan having

 been​ ​contracted​ ​by​ ​Bayview​ ​to​ ​perform​ ​certain​ ​aspects​ ​regarding​ ​the​ ​servicing​ ​of​ ​the​ ​Loan.

           5.        M&T has been the sub-servicer of the Loan, Bayview has been the Master

 Servicer of the Loan, and M&T and Bayview (collectively, “Defendants”) have acted in such

 capacities since February 15, 2014, when Bayview acquired servicing rights to the Loan from

 non-party​ ​J.P.​ ​Morgan​ ​Chase​ ​Bank.​ ​(“Chase”).

           6.        Non-Party Federal National Mortgage Loan Corporation (“Freddie Mac”) is an

 investor in and owner of various residential real estate mortgages throughout the United States.

 Upon belief, Freddie Mac maintains agreements with various mortgage servicers across the

 United​ ​States​ ​to​ ​service​ ​their​ ​loans​ ​including​ ​Defendants.

           7.        This Court has jurisdiction pursuant to 28 U.S.C. § 1331 as this action primarily

 arises under the Dodd-Frank Wall Street Reform and Consumer Protection Act (DFA) and the

 Real​ ​Estate​ ​Settlement​ ​Procedures​ ​Act​ ​(RESPA),​ ​12​ ​U.S.C.​ ​§§​ ​2601,​ ​et​ ​seq​.

           8.        This action is specifically filed to enforce regulations promulgated by the

 Consumer Finance Protection Bureau (CFPB) that became effective on January 10, 2014,

 specifically,​ ​12​ ​C.F.R.​ ​§§​ ​1024.35,​ ​et​ ​seq​.,​ ​of​ ​Regulation​ ​X..

           9.        This Court has supplemental jurisdiction to hear any and all state law claims

 pursuant​ ​to​ ​28​ ​U.S.C.​ ​§1367.




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                                                      INTRODUCTION

           10.       Borrowers restate and incorporate herein all of their statements and allegations

 contained​ ​in​ ​the​ ​paragraphs​ ​one​ ​(1)​ ​through​ ​nine​ ​(9)​ ​in​ ​their​ ​entirety,​ ​as​ ​if​ ​fully​ ​rewritten.

           11.       In January 2013, the CFPB issued a number of final rules concerning mortgage

 markets in the United States, pursuant to the DFA, Public Law No. 111-203, 124 Stat. 1376

 (2010).

           12.       Specifically, on January 17, 2013, the CFPB issued RESPA Mortgage Servicing

 Final Rules (Regulation X) 78 F.R. 10695 (February 14, 2013), which became effective on

 January​ ​10,​ ​2014.

           13.       The Loan in the instant matter is a "federally related mortgage loan" as said term

 is​ ​defined​ ​by​ ​12​ ​C.F.R.​ ​§​ ​1024.2(b).

           14.       M&T and Bayview are subject to the aforesaid Regulations and does not qualify

 for the exception for "small servicers”, as such term is defined in 12 C.F.R. §1026.41(e)(4), nor

 does M&T qualify for the exemption for a “qualified lender”, as such term is defined in 12

 C.F.R.​ ​§​ ​617.700.

           15.       Borrowers are asserting claims for relief against M&T and Bayview for breaches

 of​ ​specific​ ​rules​ ​under​ ​Regulation​ ​X,​ ​as​ ​set​ ​forth,​ ​infra​.

           16.       Borrowers have a private right of action under RESPA pursuant to 12 U.S.C. §

 2605(f) for the claimed breaches of Regulation X and such action provides for remedies

 including​ ​actual​ ​damages,​ ​costs,​ ​statutory​ ​damages,​ ​and​ ​attorneys’​ ​fees.




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           17.       Venue lies in this District pursuant to 28 U.S.C. § 1391(b) as Borrowers maintain

 the Home as their primary residence within this District and the events giving rise to the claims

 asserted​ ​herein​ ​occurred​ ​in​ ​this​ ​District.

                                               STATEMENT​ ​OF​ ​FACTS

          THE​ ​MODIFICATION​ ​AND​ ​ISSUES​ ​WITH​ ​THE​ ​BORROWERS’​ ​INITIAL

                                                         PAYMENTS

           18.       Borrowers restate and incorporate herein all of their statements and allegations

 contained​ ​in​ ​the​ ​paragraphs​ ​one​ ​(1)​ ​through​ ​seventeen​ ​(17)​ ​in​ ​their​ ​entirety,​ ​as​ ​if​ ​fully​ ​rewritten.

           19.       Borrowers used their life savings and purchased their Home, the subject property

 in this cause of action. The Home was a new construction and Borrowers worked with the

 builder​ ​and​ ​developer​ ​to​ ​personally​ ​choose​ ​each​ ​detail​ ​of​ ​the​ ​Home.

           20.       Several years later, Borrowers went through a financial hardship due to health and

 employment​ ​related​ ​issues.

           21.       Upon experiencing the hardship, Borrowers proactively contacted Chase, their

 lender​ ​and​ ​servicer​ ​at​ ​the​ ​time,​ ​to​ ​request​ ​assistance.

           22.       Chase advised Borrowers that they could not seek assistance until they had missed

 three mortgage payments. In reliance on Chase’s instructions, Borrowers missed two (2) of their

 mortgage​ ​payments.

           23.       The idea of missing payments was not appealing to Borrowers, however, who had

 the practice of making all payments early or on-time. Borrowers decided they could not wait

 until missing their third payment and contacted Chase to request the assistance process begin




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 promptly. Thereafter, Borrower went through many months of seeking assistance to no avail.

 Finally,​ ​due​ ​to​ ​fear,​ ​frustration​ ​and​ ​desperation,​ ​Borrowers​ ​retained​ ​foreclosure​ ​defense​ ​counsel.

          24.       Borrowers qualified for and were approved for a HAMP Modification, but Chase

 never​ ​notified​ ​Borrowers​ ​of​ ​the​ ​approval​ ​for​ ​the​ ​requested​ ​modification.

          25.       Borrowers subsequently went through two (2) years of foreclosure litigation until

 the​ ​Loan​ ​was​ ​transferred.

          26.       When servicing of the loan transferred effective February 15, 2014, Borrowers

 learned through foreclosure counsel that Bayview was willing to consider a loss mitigation

 application​ ​for​ ​a​ ​modification​ ​of​ ​the​ ​mortgage​ ​loan.

          27.       Borrowers applied and were approved for a trial payment plan and Borrowers

 entered​ ​into​ ​a​ ​Trial​ ​Modification​ ​Agreement​ ​with​ ​Bayview​ ​(the​ ​“TPP”).

          28.       Pursuant to the terms of the TPP, Borrowers were to make three (3) trial period

 monthly​ ​payments​ ​on​ ​September​ ​1,​ ​2014,​ ​October​ ​1,​ ​2014​ ​and​ ​November​ ​1,​ ​2014..

          29.       Borrowers​ ​fully​ ​performed​ ​their​ ​obligations​ ​under​ ​the​ ​TPP.

          30.       On or about November 13, 2014, Bayview sent correspondence to Borrowers

 stating that Borrowers were approved for a permanent modification, specifically a “Home

 Affordable Modification Agreement” (the “Approval”). A copy of the Approval is attached as

 Exhibit​ ​A​.

          31.       Borrowers were eager to begin rebuilding their credit and make payments again

 for​ ​the​ ​beloved​ ​Home.




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            32.        Following the instructions contained within the Approval, Borrowers executed the

 modification documents on November 19, 2014 and returned the same to Bayview. A copy of

 the​ ​fully​ ​executed​ ​modification​ ​(the​ ​“Modification”)​ ​is​ ​attached​ ​as​ ​Exhibit​ ​B​.1

            33.        The effective date of the Modification was December 1, 2014 and the principal

 terms​ ​of​ ​the​ ​Modification​ ​are​ ​outlined​ ​as​ ​follows:

                             a. Interest Rate: 2.000% for the first five (5) years, 3.000% for the sixth

                                  year,​ ​and​ ​4.000%​ ​for​ ​the​ ​remainder​ ​of​ ​the​ ​term

                             b. New​ ​Principal​ ​Balance:​ ​ ​$560,068.11

                             c. Deferred​ ​Principal​ ​Balance:​ ​ ​$39,000.00

                             d. Interest​ ​Bearing​ ​Principal​ ​Balance:​ ​ ​$521,068.11

                             e. First​ ​Modified​ ​Payment​ ​Due​ ​Date:​ ​ ​December​ ​1,​ ​2014

                             f. Number​ ​of​ ​Monthly​ ​Payments:​ ​480

                             g. Monthly Principal and Interest Payment: $1,577.93 for the first five years,

                                  $1,833.18​ ​for​ ​the​ ​sixth​ ​year,​ ​and​ ​$2,102.62​ ​for​ ​the​ ​remainder​ ​of​ ​the​ ​term

                             h. Estimated Monthly Escrow Payment: $588.38, adjusting periodically in

                                  accordance​ ​with​ ​applicable​ ​law

                             i. Total​ ​Initial​ ​Monthly​ ​Payment:​ ​ ​$2,166.31

 See​ ​Exhibit​ ​B​.

            34.        Further,​ ​the​ ​Modification​ ​explicitly​ ​states:

                       The modified principal balance of [my] Note will include all
                       amounts and arrearages that will be past due as of the Modification
                       Effective Date (including unpaid and deferred interest, fees,
                       escrow advances and other costs, but excluding unpaid late


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  ​ ​Bayview,​ ​for​ ​reasons​ ​unknown,​ ​waited​ ​to​ ​countersign​ ​the​ ​Modification​ ​until​ ​March​ ​23,​ ​2016.
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                       charges, collectively “Unpaid Amounts”) less any amounts paid to
                       the​ ​Lender​ ​but​ ​not​ ​previously​ ​credited​ ​to​ ​my​ ​Loan.”

 See​ ​Exhibit​ ​B​.

           35.         Pursuant to the Approval, the finalization of the modification process or transition

 period would take approximately ninety (90) days. The monthly payment of principal interest

 and escrow would not be determined until the completion of the modification process/transition

 period.​ ​ ​See​ ​Exhibit​ ​A​.

           36.         Borrowers were to make the delineated payments in the amount of $2,166.31 on

 December 1, 2014 and to continue paying the same amount each month until they received a new

 statement​ ​reflecting​ ​changes​ ​to​ ​the​ ​payment​ ​amount.​ ​ ​See​ ​Exhibit​ ​A​.

           37.         Defendants failed to send statements to Borrowers for the months of December

 2014​ ​and​ ​January​ ​2015.

           38.         Borrowers timely made the required payments pursuant to the Approval and

 Modification on or before the due dates for the months of December 2014, January 2015,

 February​ ​2015,​ ​and​ ​March​ ​2015.

           39.         Borrowers received the first post-Modification statement on from M&T after

 March 1, 2015. The “First Modified Mortgage Statement” stated it was for the “Payment Due

 Date” of February 1, 2015 but it was not issued until February 24, 2015 (twenty-three (23) days

 after the payment was due). A copy of the First Modified Mortgage Statement is attached as

 Exhibit​ ​C.

           40.         The​ ​First​ ​Modified​ ​Mortgage​ ​Statement​ ​claimed:

                           a. The​ ​amount​ ​due​ ​February​ ​was​ ​$4,378.14

                           b. The​ ​escrow​ ​balance​ ​for​ ​the​ ​Loan​ ​was​ ​$-843.72;


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                             c. Borrowers’​ ​monthly​ ​escrow​ ​payment​ ​was​ ​$611.14;

                             d. Borrowers’​ ​Suspense​ ​Balance​ ​was​ ​$2,120.79;

                             e. Borrowers​ ​were​ ​as​ ​past​ ​due​ ​one​ ​(1)​ ​payment​ ​of​ ​$2,189.07;

                             f. Borrowers were being charged “Total Charges” in addition to the monthly

                                 payments​ ​due​ ​in​ ​the​ ​amount​ ​of​ ​$2,189.07.

 .​See​ ​Exhibit​ ​C​.

           41.           On or about March 1, 2015, Borrowers’ also received an “Annual Escrow

 Disclosure Statement” which curiously included a statement of the “New Payment Effective

 12/01/2014” (eighty-three (83) days after the alleged New Payment Effective date). A copy of

 the​ ​Annual​ ​Escrow​ ​Account​ ​Disclosure​ ​Statement​ ​is​ ​attached​ ​as​ ​Exhibit​ ​D​.

           42.           Specifically,​ ​the​ ​Escrow​ ​Disclosure​ ​Statement​ ​claimed:

                             a. The​ ​New​ ​Payment​ ​Effective​ ​12/01/2014​ ​was​ ​$2,189.07;

                             b. The escrow “Starting Balance” of the escrow account for the loan was was

                                 -$2066.00;

                             c. Borrowers’​ ​monthly​ ​escrow​ ​payment​ ​was​ ​$567.25;

                             d. Borrowers’​ ​“Prorated​ ​Escrow​ ​Shortage”​ ​was​ ​$43.89.

 See​ ​Exhibit​ ​D​.

           43.           Despite making payments as instructed in the Approval and Modification, M&T

 began sending Borrowers Mortgage Statements which stated Borrowers were late and delinquent

 with their mortgage payment in error due to M&T’s improper retroactive application of the

 change​ ​in​ ​payment​ ​terms.




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           44.       On February 25, 2015 one (1) day after issuing the Mortgage Statement for the

 February 1, 2015 payment), M&T processed Borrowers’ payment received on February 15, 2015

 as a Partial Payment Received in the amount of $2,166.31 and issued the Mortgage Statement for

 March 1, 2015. M&T erroneously applied the payment sent by Borrowers on February 15, 2015

 that was intended for, and should have been applied for, the payment due March 1, 2015 to the

 the payment due February 1, 2015 payment. A copy of the March 1, 2015 Mortgage Statement is

 attached​ ​as​ ​Exhibit​ ​E​.

           45.       Upon receiving the confusing and erroneous statements, Borrowers were troubled,

 anxious​ ​and​ ​confused.

           46.       After reviewing of the statements, Borrowers referred back to the Approval Letter

 and determined that they were now required to pay the increased payment amount of $2,189.07

 based on receiving a statement informing them of the increase. As such, Borrowers began paying

 the​ ​new​ ​amount​ ​starting​ ​with​ ​the​ ​next​ ​monthly​ ​payment​ ​due.

   BORROWERS’​ ​ATTEMPTS​ ​TO​ ​PROACTIVELY​ ​CORRECT​ ​SERVICING​ ​ERRORS

           47.       Due to fear and concern that something was wrong with their Modification,

 Borrowers retained Attorney Jessica L. Kerr (“Counsel”) to assist them in resolving the

 erroneous​ ​accounting​ ​by​ ​M&T​ ​and​ ​Bayview.

           48.       With the assistance of counsel, Borrowers sent correspondence to M&T in April

 2015 alleging that M&T committed errors in the servicing of the Loan by failing to properly

 apply the Borrowers’ payments and by failing to send mortgage statements until the First

 Modified​ ​Mortgage​ ​Statement​ ​(“NOE​ ​#1”).




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            49.       Borrowers sent NOE #1 to M&T at their address designated pursuant to 12 C.F.R.

  §​ ​1024.35(c)​ ​and​ ​M&T​ ​received​ ​the​ ​same.

            50.       While admitting in response to NOE #1 (“Response to NOE #1”) that it failed to

  begin generating mortgage statements until March 3, 2015, M&T failed to correct, acknowledge,

  or even reference the errors related to the Loan’s accounting and instead erroneously continued

  to consider the Borrowers delinquent despite their timely payments. A copy of Response to NOE

  #1​ ​sent​ ​by​ ​M&T​ ​on​ ​May​ ​29,​ ​2015​ ​is​ ​attached​ ​hereto​ ​as​ ​Exhibit​ ​F​.

            51.       Borrowers continued to make their monthly payments on time, however M&T

  continued to send statements claiming the Borrowers were delinquent. A copy of the respective

  statements​ ​for​ ​the​ ​respective​ ​time​ ​period​ ​are​ ​attached​ ​hereto​ ​as​ ​Composite​ ​Exhibit​ ​G​.

            52.       With the assistance of counsel, Borrowers sent another notice of error to M&T

  and Bayview on July 15, 2015 (“NOE #2”) identifying the payments that had not been properly

  applied to the Loan and demanding that Defendants correct the accounting errors, credit the

  erroneous late charges and correct the wrongful credit reporting. A copy of NOE#2 is attached

  hereto​ ​as​ ​Exhibit​ ​H​.

            53.       Borrowers sent NOE #2 to M&T and Bayview at their respective self-designated

  addresses for the receipt of notices of error pursuant to 12 C.F.R. § 1024.35(c) and Defendants

  each​ ​received​ ​the​ ​same​ ​at​ ​such​ ​addresses.

            54.       Bayview acknowledged receipt of NOE #2 on behalf of Defendants via

  correspondence dated July 24, 2015. (“Acknowledgment of NOE #2”).. A copy of

  Acknowledgment​ ​of​ ​NOE​ ​#2​ ​is​ ​attached​ ​hereto​ ​as​ ​Exhibit​ ​I​.




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            55.       On August 21, 2015, Bayview sent a letter advising Borrowers that the errors

  noticed by and through NOE #2 were in the process of being corrected and that, once completed,

  the “loan will be reported current” (“Response to NOE #2”). A copy of Response to NOE #2 is

  attached​ ​hereto​ ​as​ ​Exhibit​ ​J.

            56.       Rather than actually correcting the errors as Defendants assured Borrowers they

  would in Response to NOE #2, M&T continued to claim Borrowers were behind in payments by

  sending notices advising that they were holding payments made by the Borrowers in suspense

  continuing in their erroneous actions and and causing Borrowers’ greater distress. See a copy of

  the​ ​“Suspense​ ​Funds​ ​Notice”​ ​dated​ ​August​ ​28,​ ​2015​ ​attached​ ​hereto​ ​as​ ​Exhibit​ ​K​.

            57.       Accordingly, on or about September 9, 2015, with the assistance of counsel,

  Borrowers sent a third Notice of Error to M&T alleging that M &T committed an error by failing

  to correct the errors raised in NOE #1 and NOE #2, which Bayview admitted had occurred

  (“NOE #3”). Additionally, Borrowers notified M&T of additional errors including wrongful late

  charges included on Borrowers’ August 1, 2015 Mortgage Statement, erroneous accounting, and

  false credit reporting. Borrowers also notified M&T of the emotional and physical stress the

  situation Borrowers were experiencing as a result of the pattern and practice by M&T of failing

  to properly credit payments, charging erroneous late fees, and improperly reporting their

  payments​ ​to​ ​credit​ ​agencies.​ ​A​ ​copy​ ​of​ ​NOE​ ​#3​ ​is​ ​attached​ ​hereto​ ​as​ ​Exhibit​ ​L.

            58.       Borrowers sent NOE #3 to M&T via Certified U.S. Mail [Receipt No. 7015 1520

  0000 0946 4572] at their self-designated addresses for the receipt of notices of error pursuant to

  12​ ​C.F.R.​ ​§​ ​1024.35(c)​ ​and​ ​M&T​ ​received​ ​the​ ​same​ ​at​ ​such​ ​address.




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            59.       Bayview, acting on behalf of M&T, acknowledged and responded to NOE #3 and

  again advised Borrowers that any late fees were being credited and that the errors were being

  corrected, but erroneously stated that Borrowers’ loan was due for September 1, 2015, rather

  than for October 1, 2015. A copy of Bayview’s response to NOE #3 is attached hereto as ​Exhibit

  M​.

            60.       On or about September 18, 2015 M&T further responded to #3 acknowledging

  receipt of NOE #3, but also erroneously advising them that they were delinquent and needed to

  send in proof of payment in order to resolve the error. A copy of M&T’s Acknowledgment is

  attached​ ​hereto​ ​as​ ​Exhibit​ ​N.

            61.       On or about September 25, 2015, Borrowers spoke with representatives of M&T

  by telephone to resolve the accounting error on their Loan, explaining that they were current with

  their monthly mortgage statements. Instead of investigating Borrowers’ claims at that time,

  M&T entered a note in the Loan Activity Collection Contacts (“Collection Notes”) stating that

  the Borrowers’ payment for September 2015 payment was applied to the payment due for

  August​ ​2015.​ ​A​ ​copy​ ​of​ ​the​ ​relevant​ ​portion​ ​of​ ​the​ ​Collection​ ​Notes​ ​is​ ​attached​ ​as​ ​Exhibit​ ​O​.

            62.       On October 9, 2015, M&T sent correspondence in further response to NOE #3,

  advising the Borrowers that the late fees had been waived and provided an accounting of the

  recent payments received. Unfortunately, M&T again failed to correct the accounting errors.

  M&T further informed Borrowers that they would have to call M&T in order to have the

  payments processed properly for the October 1, 2015 payment. A copy of said correspondence is

  attached​ ​hereto​ ​as​ ​Exhibit​ ​P.




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            63.        Despite Borrowers’ best efforts to resolve the servicing error through the error

  resolution process afforded by Regulation X, Defendants failed to acknowledge and correct the

  accounting​ ​errors​ ​on​ ​the​ ​Loan.

            64.        Borrowers were distressed by the servicer’s failure to correct the errors and

  retained​ ​the​ ​services​ ​of​ ​New​ ​Regs​ ​Research​ ​Group,​ ​LLC​ ​(“NRRG”).

            65.        On or about November 3, 2015, Borrowers, by and through NRRG, sent

  correspondence to M&T captioned or otherwise titled “Request for Information” (“RFI #1”). A

  copy​ ​of​ ​RFI​ ​#1​ ​is​ ​attached​ ​as​ ​Exhibit​ ​Q​.

            66.        Borrowers sent RFI #1 to M&T via Certified U.S. Mail [Receipt No. 7015 0640

  0002 6882 9316] at their self-designated addresses for the receipt of requests for information

  pursuant​ ​to​ ​12​ ​C.F.R.​ ​§​ ​1024.36(b)​ ​and​ ​M&T​ ​received​ ​the​ ​same​ ​at​ ​such​ ​address.​ ​See​ ​Exhibit​ ​Q​.

            67.        By and through RFI #1, Borrowers requested the identity of the owner or investor

  of​ ​the​ ​Loan​ ​as​ ​well​ ​as:

                       a. Copies of any and all notices or disclosures for any mortgage servicing

                             transfers.

                       b. Copies of any and all notices of the mortgage loan sale also known as,

                             ownership transfers for the referenced loan to any Creditor, Investor or

                             Owner.

                       c. A​ ​list​ ​of​ ​all​ ​loss​ ​mitigation​ ​options​ ​the​ ​investor​ ​or​ ​assignee​ ​participates​ ​in.

                       d. A list of any loss mitigation options the investor participates in as a result of

                             any government and or investor settlement such as the Department of Justice

                             settlement.



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  See​ ​Exhibit​ ​Q​.

            68.         On or about November 3, 2015, Borrowers, by and through NRRG, sent

  correspondence to M&T captioned or otherwise titled “Request for Information” (“RFI #2”). A

  copy​ ​of​ ​RFI​ ​#2​ ​is​ ​attached​ ​as​ ​Exhibit​ ​R​.

            69.         Borrowers sent RFI #2 to M&T via Certified U.S. Mail [Receipt No. 7015 0640

  0002 6862 9323] at their self-designated addresses for the receipt of requests for information

  pursuant​ ​to​ ​12​ ​C.F.R.​ ​§​ ​1024.36(b)​ ​and​ ​M&T​ ​received​ ​the​ ​same​ ​at​ ​such​ ​address.​ ​See​ ​Exhibit​ ​R​.

            70.         By​ ​and​ ​through​ ​RFI​ ​#2,​ ​Borrowers​ ​requested​ ​information​ ​regarding:

                        a. A full and complete copy and or statement of any premiums and or fees assess

                             to​ ​the​ ​above​ ​referenced​ ​mortgage​ ​loan​ ​account​ ​for​ ​any​ ​forced-place​ ​insurance;

                        b. A​ ​copy​ ​of​ ​the​ ​current​ ​insurance​ ​policy;​ ​and,

                        c. Any call notes and or call logs related to communication with the borrower

                             about​ ​the​ ​above​ ​referenced​ ​mortgage​ ​loan;

                        d. A record of all property taxes that have been paid by Servicer and the next due

                             date for property taxes due to prevent and or avoid the borrower from being

                             delinquent.

  See​ ​Exhibit​ ​R​.

            71.         On or about November 3, 2015, Borrowers, by and through NRRG, sent

  correspondence to M&T captioned or otherwise titled “Request for Information” (“RFI #3”). A

  copy​ ​of​ ​RFI​ ​#3​ ​is​ ​attached​ ​as​ ​Exhibit​ ​S​.




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            72.         Borrowers sent RFI #3 to M&T via Certified U.S. Mail [Receipt No. 7015 0640

  0002 6882 9330] at their self-designated addresses for the receipt of requests for information

  pursuant​ ​to​ ​12​ ​C.F.R.​ ​§​ ​1024.36(b)​ ​and​ ​M&T​ ​received​ ​the​ ​same​ ​at​ ​such​ ​address.​ ​See​ ​Exhibit​ ​S​.

            73.         By​ ​and​ ​through​ ​RFI​ ​#3,​ ​Borrowers​ ​requested:

                        a. A​ ​payoff​ ​statement​ ​for​ ​the​ ​Loan;

                        b. A​ ​copy​ ​of​ ​the​ ​most​ ​recent​ ​periodic​ ​mortgage​ ​statement​ ​for​ ​the​ ​Loan;

                        c. A list of which credit bureaus have been notified about the Loan and

                            information​ ​associated​ ​with​ ​such​ ​reporting​ ​events.

  See​ ​Exhibit​ ​S​.

            74.         On or about November 11, 2015, Borrowers, by and through NRRG, sent

  correspondence to M&T captioned or otherwise titled “Request for Information/Notice of Error”

  (“NOE​ ​#4”).​ ​A​ ​copy​ ​of​ ​NOE​ ​#4​ ​is​ ​attached​ ​as​ ​Exhibit​ ​T​.

            75.         Borrowers sent NOE #4 to M&T at their self-designated address for the receipt of

  notices of error pursuant to 12 C.F.R. § 1024.35(c) and M&T received the same at such address.

  See​ ​Exhibit​ ​T​.

            76.         By and through NOE #4, Borrowers, provided notice that M&T committed errors

  regarding the Loan when it again charged a late fee on the October 29, 2015 Mortgage

  Statement. Borrowers further requested M&T explain why the error continues to occur. See

  Exhibit​ ​T.

            77.         On or about November 16, 2015, Borrowers, by and through NRRG, sent

  correspondence to M&T captioned or otherwise titled “Notice of Error/Request for Information

  ID#​ ​DF1116E”​ ​(“NOE​ ​#5”).​ ​A​ ​copy​ ​of​ ​NOE​ ​#5​ ​is​ ​attached​ ​as​ ​Exhibit​ ​U​.



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            78.         Borrowers sent NOE #5 to M&T at their self-designated address for the receipt of

  notices of error pursuant to 12 C.F.R. § 1024.35(c) and M&T received the same at such address.

  See​ ​Exhibit​ ​U​.

            79.         By and through NOE #5, Borrowers, gave notice that M&T committed errors

  when it failed to acknowledge RFI #1, RFI #2, and RFI #3 (collectively, the “NRRG RFIs”)

  pursuant to 12 C.F.R. § 1024.36(c) within five (5) business days of M&T’s receipt of the same

  on​ ​or​ ​about​ ​Friday,​ ​November​ ​6,​ ​2015.​ ​See​ ​Exhibit​ ​U​.

            80.         On or about November 24, 2015, Borrowers, by and through NRRG, sent

  correspondence to M&T captioned or otherwise titled “Notice of Error ID# DF1124E1” (“NOE

  #6”).​ ​A​ ​copy​ ​of​ ​NOE​ ​#6​ ​is​ ​attached​ ​as​ ​Exhibit​ ​V​.

            81.         Borrowers sent NOE #6 to M&T at their self-designated address for the receipt of

  notices of error pursuant to 12 C.F.R. § 1024.35(c) and M&T received the same at such address.

  See​ ​Exhibit​ ​V​.

            82.         By and through NOE #6, Borrowers alleged that M&T committed an error in the

  servicing of the Loan by sending the Mortgage Statement dated November 16, 2015 which

  included improper late charges, incorrect fees, and an incorrect amount due and owing of

  $4,550.94​ ​.​ ​See​ ​Exhibit​ ​V.

            83.         By and through NOE #6, Borrowers also requested that M&T communicate with

  NRRG​ ​directly​ ​and​ ​cease​ ​communication​ ​with​ ​the​ ​Borrowers​ ​directly.

            84.         On or about November 28, 2015, NRRG received correspondence from M&T

  acknowledging receipt of the NRRG RFIs (the “NRRG RFI Acknowledgment”). A copy of the

  NRRG​ ​RFI​ ​Acknowledgment​ ​is​ ​attached​ ​as​ ​Exhibit​ ​W​.



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            85.         The NRRG RFI Acknowledgment is dated November 5, 20152 includes seven (7)

  enumerated​ ​enclosures​ ​in​ ​response​ ​to​ ​the​ ​NRRG​ ​RFIs.

            86.         On December 1, 2015, Borrowers by and through NRRG sent correspondence to

  M&T captioned or otherwise titled “Notice of Error ID# DF1201E” (“NOE #7). A copy of NOE

  #7​ ​is​ ​attached​ ​as​ ​Exhibit​ ​X​.

            87.         Borrowers sent NOE #7 to M&T at their self-designated address for the receipt of

  notices of error pursuant to 12 C.F.R. § 1024.35(c) and M&T received the same at such address.

  See​ ​Exhibit​ ​X​.

            88.         By and through NOE #7, Borrowers provided notice of M&T’s continued failure

  to correct their errors stating that although the Borrowers continued to pay their monthly

  mortgage payments on time, M&T charged three (3) separate additional wrongful late fees in

  August, September and October of 2015. Borrowers again reminded M&T that communication

  should​ ​be​ ​made​ ​directly​ ​to​ ​NRRG​ ​as​ ​their​ ​agent.​ ​See​ ​Exhibit​ ​X​.

            89.         Despite reviewing the dispute as outlined by Borrowers and NRRG, M&T refused

  to​ ​correct​ ​the​ ​errors.

            90.         As the efforts of Borrowers and NRRG to have M&T correct their errors in the

  servicing of the Loan had been unsuccessful, Counsel formally stepped in to assist with the error

  resolution process. While Counsel assisted Borrower throughout the error resolution process,

  Counsel​ ​did​ ​not​ ​communicate​ ​directly​ ​with​ ​M&T​ ​prior​ ​to​ ​this​ ​point.

            91.         On or about February 5, 2016, Borrowers, by and through Counsel, sent

  correspondence to M&T via Certified Mail pursuant to the Fair Credit Reporting Act (“FCRA”)



  2
   The date of the letter appears to be an error because M&T did not receive the November 3, 2015 RFI’s until
  November​ ​6,​ ​2015.
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  advising M&T of the accounting errors and requesting that M&T’s false credit reporting of

  Borrowers as late be corrected. The FCRA Letter included Counsel contact information in the

  letterhead and third party authorization. A redacted copy of “FCRA Letter” is attached as ​Exhibit

  Y​.

           92.       M&T sent correspondence dated February 26, 2016 acknowledging receipt of

  FRCA Letter (the “Acknowledgment of FCRA Letter”). Therein, M&T stated that it correct the

  credit reporting for the months of December 2014, January 2015 and February 2015. However,

  M&T failed to correct the reporting for December 2014 and failed to report Borrower’s

  payments for the October 2014. A copy of the Acknowledgment of FCRA Letter is attached as

  Exhibit​ ​Z​.

           93.       On March 25, 2016, M&T sent subsequent correspondence to Counsel to contact

  M&T at the “1-800” number provided. The Acknowledgment further warned that if Counsel

  failed to do so within ten (10) business days, M&T would instead communicate with the

  Borrowers directly. Counsel attempted to contact M&T at the number provided but was unable

  to​ ​connect​ ​to​ ​a​ ​person​ ​at​ ​M&T​ ​through​ ​their​ ​automated​ ​system.

           94.       In   response to the Acknowledgment of FCRA Letter, Counsel sent

  correspondence captioned “Notice of Error” (“NOE #8”) on March 28, 2016. A copy of March

  25,​ ​2016​ ​correspondence​ ​and​ ​NOE​ ​#​ ​8​ ​are​ ​attached​ ​as​ ​Composite​ ​Exhibit​ ​AA​.

           95.       Borrowers sent NOE #8 to M&T at their self-designated address for the receipt of

  notices of error pursuant to 12 C.F.R. § 1024.35(c) and M&T received the same at such address.

  See​ ​Exhibit​ ​AA​.




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           96.       By and through NOE #8 Borrowers through counsel advised M&T that M&T

  committed an error by requiring Counsel to call M&T in order for M&T to honor the Borrowers’

  representation​ ​by​ ​counsel.​ ​See​ ​Exhibit​ ​AA​.

           97.       In response to NOE #8, M&T misrepresented stating that it did not instruct

  Counsel that it must call M&T, and that the Notice of Error was sufficient confirmation of

  representation​ ​by​ ​counsel.

           98.       On or about May 31, 2016, Counsel sent correspondence to M&T captioned

  “NOTICE OF ERROR/REQUEST FOR INFORMATION/PRESUIT DEMAND” in yet another

  attempt to have M&T correct their servicing errors and wrongful accounting to properly reflects

  that Borrowers had in fact made all payments on time since the effective date of the

  Modification. A copy of the Notice of Error with proof of mailing is attached (“NOE # 9”) is

  attached​ ​as​ ​Exhibit​ ​BB​.

           99.       Borrowers sent NOE #9 to M&T at their self-designated address for the receipt of

  notices of error pursuant to 12 C.F.R. § 1024.35(c) and M&T received the same at such address.

  See​ ​Exhibit​ ​BB​.

           100.      By and through NOE #9, Borrowers through counsel notified M&T of eight (8)

  repeated errors M&T committed repeatedly each month since the effective date of the

  Modification.​ ​See​ ​Exhibit​ ​BB​.

           101.      Shockingly, despite acknowledging representation by counsel and receipt of NOE

  #9 from counsel, M&T posted a notice on the Borrowers’ front door warning of foreclosure

  lawsuit​ ​due​ ​to​ ​Borrowers’​ ​delinquency.




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           102.      Finally, on August 1, 2016, Defendants each provided a response to NOE #9. A

  copy of M&T’s response is attached here as ​Exhibit CC​. A copy of Bayview’s Response is

  attached​ ​hereto​ ​as​ ​Exhibit​ ​DD​.

           103.      Largely, M&T stated that Borrowers’ notice was duplicative and that M&T had

  already corrected the majority of the errors raised, but finally, after Borrowers sent nine (9)

  notices of error over the course of eighteen (18) months, M&T finally acknowledged their

  accounting errors and corrected the same from 2015 and notified the credit reporting agencies to

  correct​ ​the​ ​reporting​ ​for​ ​that​ ​time​ ​frame.​ ​See​ ​Exhibit​ ​CC.

           104.      M&T and Bayview never provided any indication as to why it was only upon the

  receipt​ ​of​ ​NOE​ ​#9​ ​that​ ​M&T​ ​finally​ ​corrected​ ​the​ ​accounting​ ​and​ ​credit​ ​reporting​ ​errors.

           105.      M&T, however, declined to mitigate its damages and it forced Borrowers to incur

  costs and fees submitting nine (9) Notices of Error before M&T corrected the accounting and

  reporting​ ​for​ ​Borrowers​ ​account.​ ​See​ ​Exhibit​ ​CC.

           106.      Although it finally appeared that M&T had corrected the accounting on

  Borrowers’ Loan, much to Borrowers’ dismay, beginning in or around March 2017, M&T began

  to​ ​commit​ ​the​ ​same​ ​errors​ ​once​ ​again,​ ​which​ ​have​ ​not​ ​been​ ​corrected​ ​to​ ​date.

           107.      Specifically, Despite the fact that all payment on the loan had been made in a

  timely manner, M&T issued a Mortgage Statement on March 6, 2017 alleging Borrowers were

  delinquent for their March 1, 2017 payment. Additionally, M&T erroneously failed to apply a

  full payment in the amount of $2,167.62 as required by Regulation X. Instead, M&T considered

  the payment a partial payment due to illegal pyramiding of late fees. Notably, Borrowers were

  not late with their mortgage payments and continued as always to make correct and timely



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  monthly mortgage payments. A copy of the March 2017 Mortgage Statement is attached hereto

  as​ ​Exhibit​ ​EE​.

            108.        Accordingly, on or about April 4, 2017, by and through Counsel, Borrowers sent

  another notice of error to Defendants wherein each and every payment issued by Borrowers to

  M&T was delineated to assist Defendants’ in correcting the alleged errors which included

  improper accounting and charging improper late fees (“NOE #10”). A copy of NOE #10 is

  attached​ ​hereto​ ​as​ ​Exhibit​ ​FF​.

            109.        Borrowers sent NOE #10 to Defendants at their respective self-designated

  addresses for the receipt of notices of error pursuant to 12 C.F.R. § 1024.35(c) and Defendants

  each​ ​received​ ​the​ ​same​ ​at​ ​such​ ​addresses.​ ​See​ ​Exhibit​ ​FF.

            110.        Despite the extensive detail provided, M&T failed to correct the error and

  incorrectly stated that Borrowers failed to make the monthly payments for January 1, 2016, April

  1, 2016 and January 1, 2017 (“Response to NOE #10”). A copy of Response to NOE #10 is

  attached​ ​hereto​ ​as​ ​Exhibit​ ​GG​.

            111.        Borrowers did not fail to remit funds to satisfy their payment obligations for the

  months of January 2016, April 2016, or January 2017. Copies of the allegedly missed payments

  are​ ​attached​ ​hereto​ ​as​ ​Composite​ ​Exhibit​ ​HH.

            112.        On or about August 25, 2017, in a final effort to assist M&T and Bayview into

  correcting their errors in the servicing of the Loan, Borrowers sent an eleventh notice of error to

  Defendants​ ​(“NOE​ ​#11”).​ ​A​ ​copy​ ​of​ ​NOE​ ​#11​ ​is​ ​attached​ ​as​ ​Exhibit​ ​II​.




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            113.      Borrowers sent NOE #11 to Defendants at their respective self-designated

  addresses for the receipt of notices of error pursuant to 12 C.F.R. § 1024.35(c) and Defendants

  each​ ​received​ ​the​ ​same​ ​at​ ​such​ ​addresses.​ ​See​ ​Exhibit​ ​II​.

            114.      Borrowers, by and through NOE #11, provided notice that Defendants committed

  no less than sixteen (16) errors in their servicing of the Loan including failing to send monthly

  statements,​ ​failing​ ​to​ ​credit​ ​payments,​ ​and​ ​charging​ ​erroneous​ ​late​ ​fees.​ ​See​ ​Exhibit​ ​II​.

            115.      Bayview acknowledge receipt of NOE #11 and advised that a response was

  expected​ ​on​ ​October​ ​9,​ ​2017.​ ​See​ ​Bayview’s​ ​acknowledgement​ ​attached​ ​as​ ​Exhibit​ ​JJ​.

            116.      On October 10, 2017 responded advising that M&T would provide a substantive

  response under separate cover. Bayview further referred Borrowers to Bayview’s Response from

  June​ ​27,​ ​2017.​ ​See​ ​Bayview’s​ ​Response​ ​attached​ ​as​ ​Exhibit​ ​KK.

            117.      Borrowers​ ​have​ ​yet​ ​to​ ​receive​ ​a​ ​response​ ​to​ ​NOE​ ​#11​ ​from​ ​M&T.

            118.      To​ ​date,​ ​M&T​ ​has​ ​failed​ ​to​ ​correct​ ​the​ ​errors

            119.      Defendants’ improper actions have caused Borrowers significant and wholly

  unwarranted​ ​harm​ ​to​ ​their​ ​credit.

            120.      Borrowers were denied credit and financing on numerous occasions as a direct

  and proximate result of Defendants’ errors in the servicing of the Loan and the resulting false

  credit reporting arising therefrom. In particular, Borrowers were denied credit when they sought

  financing​ ​for​ ​home​ ​repairs,​ ​auto​ ​refinancing,​ ​personal​ ​credit​ ​applications.

            121.      Specifically, in June of 2015 Borrower Donna Finkel attempted to obtain

  financing from her bank, Bank of America, with whom she had a longstanding relationship.




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  However, she was denied due to the negative credit reporting by Servicers. A copy of the denial

  letter​ ​is​ ​attached​ ​as​ ​Exhibit​ ​JJ​.

            122.       Additionally, Borrowers sought credit to finance repairs for their home, but were

  denied due to their diminished credit score as a result Defendants’ servicing errors. A copy of

  the various companies to which Borrowers applied and were denied is attached as Composite

  Exhibit​ ​KK​.

            123.       Borrowers have further suffered severe emotional distress due to the prolonged

  mortgage servicing abuses. Specifically, Plaintiff John Civetti, experienced exasperation of his

  Crohn's disease, a condition instigated and worsened by stress. Plaintiff, Donna Finkel

  experienced​ ​sleep​ ​loss,​ ​hair​ ​loss​ ​and​ ​anxiety​ ​for​ ​which​ ​she​ ​sought​ ​medical​ ​care.

            124.       Borrowers have incurred fees and expenses in hiring professionals help to attempt

  to have M&T and Bayview correct their errors in servicing the Loan including, but not limited to

  mailing costs, fees paid to NRRG and to Counsel, after Borrowers made reasonable attempts on

  their​ ​own​ ​to​ ​have​ ​M&T​ ​correct​ ​such​ ​errors.

            125.       Borrowers have incurred costs and expenses in the sending the NRRG RFIs as

  well​ ​as​ ​NOE​ ​#1​ ​through​ ​NOE#​ ​11​ ​via​ ​Certified​ ​Mail.

            126.       M&T’s and Bayview’s wrongful and willful actions have caused Borrowers to

  suffer frustration and emotional distress driven by the fear that M&T’s and Bayview’s actions

  might lead to default and the foreclosure of the Home, which has resulted in loss of sleep,

  anxiety,​ ​depression,​ ​embarrassment,​ ​and​ ​other​ ​persistent​ ​emotional​ ​distress.

            127.       Throughout this entire ordeal, Borrowers have merely wanted M&T and Bayview

  to honor the Modification that they entered into with Bayview and to properly apply their



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  mortgage payments so that they could cure any delinquency on the Loan, avoid any potential

  foreclosure, and resume making timely, proper payments on the Loan to M&T in order to begin

  to​ ​rehabilitate​ ​their​ ​credit,​ ​and​ ​most​ ​importantly,​ ​remain​ ​in​ ​their​ ​Home.

           128.      M&T’s and Bayview’s actions are part of a pattern and practice of behavior in

  violation of Borrowers’ rights and in abdication and contravention of M&T’s and Bayview’s

  obligations​ ​under​ ​the​ ​mortgage​ ​servicing​ ​regulations​ ​set​ ​forth​ ​in​ ​Regulation​ ​X​ ​of​ ​RESPA.

           129.      At the time of the filing of this Complaint, M&T has had more than Eight

  Hundred Forty (840) consumer complaints lodged against it nationally, specifically concerning

  the issue identified on the CFPB’s consumer complaint database as “loan modification,

  collection, foreclosure” related to mortgages and more than Seven Hundred Ninety (790) such

  complaints concerning the issue identified as “loan servicing, payments, escrow account”. Each

  such complaint is filed and cataloged in the CFPB’s publicly accessible online database.

  (​http://www.consumerfinance.gov/complaint​ ​database/​).

           130.      At the time of the filing of this Complaint, Bayview has had more than Nine

  Hundred (900) consumer complaints lodged against it nationally, specifically concerning the

  issue identified on the CFPB’s consumer complaint database as “loan modification, collection,

  foreclosure” related to mortgages and more than Seven Hundred Forty (740) such complaints

  concerning the issue identified as “loan servicing, payments, escrow account”. Each such

  complaint is filed and cataloged in the CFPB’s publicly accessible online database.

  (​http://www.consumerfinance.gov/complaint​ ​database/​).

                              COUNT​ ​ONE:​ ​AGAINST​ ​M&T​ ​AND​ ​BAYVIEW
                                 VIOLATIONS​ ​OF​ ​12​ ​C.F.R.​ ​§​ ​1024.35

                [Failure​ ​to​ ​properly​ ​respond​ ​to​ ​NOE​ ​#2,​ ​NOE​ ​#3,​ ​NOE​ ​#10,​ ​NOE​ ​#11]


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            131.       Borrowers restate and incorporate herein all of their statements and allegations

  contained in the paragraphs one (1) through one hundred twenty-seven (130) in their entirety, as

  if​ ​fully​ ​rewritten.

            132.       12 C.F.R. § 1024.35(a) provides that a “servicer shall comply with the

  requirements of this section for any written notice from the borrower that asserts an error and

  that includes the name of the borrower, information that enables the servicer to identify the

  borrower's​ ​mortgage​ ​loan​ ​account,​ ​and​ ​the​ ​error​ ​the​ ​borrower​ ​believes​ ​has​ ​occurred.”

            133.       Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R. § 1024.35(a)

  provides that “[a] notice of error is submitted by a borrower if the notice of error is submitted by

  an​ ​agent​ ​of​ ​the​ ​borrower.

            134.       12 C.F.R. § 1024.35(e)(1) provides that a servicer must respond to a notice of

  error by either “[c]orrecting the error or errors identified by the borrower and providing the

  borrower with a written notification of the correction, the effective date of the correction, and

  contact information, including a telephone number, for further assistance” or “[c]onducting a

  reasonable investigation and providing the borrower with a written notification that includes a

  statement that the servicer has determined that no error occurred, a statement of the reason or

  reasons for this determination, a statement of the borrower's right to request documents relied

  upon by the servicer in reaching its determination, information regarding how the borrower can

  request such documents, and contact information, including a telephone number, for further

  assistance.”

            135.       NOE #2, NOE #3, NOE #10, and NOE #11 each meet the requirements of a

  notice​ ​of​ ​error​ ​as​ ​defined​ ​by​ ​12​ ​C.F.R.​ ​§​ ​1024.35(a).​ ​See​ ​Exhibits​ ​H,​ ​L,​ ​FF,​ ​and​​ ​II​.



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            136.      Borrowers sent NOE #2, NOE #10, and NOE #11 to Defendants at their

  respective self-designated addresses for the receipt of notices of error pursuant to 12 C.F.R. §

  1024.35(c) and Defendants received each of the same at such addresses. See ​Exhibits H, FF, ​and

  II​.

            137.      Borrowers sent NOE #3 to M&T at their respective self-designated address for the

  receipt of notices of error pursuant to 12 C.F.R. § 1024.35(c) and M&T received the same at

  such​ ​address.​ ​See​ ​Exhibit​ ​L​.

            138.      Defendants failed to properly respond to NOE #2, NOE #3, NOE #10, and NOE

  #11 for various reasons and committed a violation of 12 C.F.R. § 1024.35 for each such notice of

  error​ ​to​ ​which​ ​Defendants​ ​failed​ ​to​ ​properly​ ​respond.

            139.      Bayview responded to NOE #2 on behalf of themselves and M&T via Response

  to NOE #2, which stated that process of being corrected and that, once completed, the “loan will

  be​ ​reported​ ​current”.​ ​See​ ​Exhibit​ ​J​.

            140.      While Response to NOE #2 did admit that an error occurred, Bayview failed to

  actually correct the errors, despite their assurances to the contrary, and state the date of the

  correction rendering Response to NOE #2 insufficient to comply with the requirements of 12

  C.F.R.​ ​§​ ​1024.35(e)(1)(A).

            141.      Bayview, acting on behalf of M&T, responded to NOE #3 and again advised

  Borrowers that any late fees were being credited and that such errors were being corrected, but

  erroneously stated that Borrowers’ loan was due for September 1, 2015, rather than for October

  1,​ ​2015.​ ​See​ ​Exhibit​ ​M​.




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           142.      By and through Defendants’ responses to NOE #9, Defendants admitted that they

  committed errors in regards to the Loan by incorrectly deeming the Borrowers to be delinquent

  in​ ​their​ ​obligations.​ ​See​ ​Exhibits​ ​CC​ ​and​ ​DD​.

           143.      Bayview’s response to NOE #3 fails to comply with 12 C.F.R. § 1024.35(e)(1)(A)

  as not all errors were corrected, namely the incorrect due date for the Borrowers’ payment. See

  Exhibit​ ​M​.

           144.      Bayview’s response to NOE #3 fails to comply with 12 C.F.R. § 1024.35(e)(1)(B)

  as Bayview clearly did not perform a reasonable investigation into the noticed error claiming that

  the Borrowers’ loan was wrongfully in a delinquent status. Had Bayview conducted a reasonable

  investigation, Bayview would have readily determined that the Borrowers had been in full

  compliance with their obligations under the Loan and that the Loan was due for the October 1,

  2015​ ​payment,​ ​not​ ​the​ ​September​ ​1,​ ​2015​ ​payment.​ ​See​ ​Exhibit​ ​M​.

           145.      Response to NOE #10 is insufficient to comply with 12 C.F.R. § 1024.35(e)(1)(A)

  as​ ​M&T​ ​did​ ​not​ ​admit​ ​that​ ​any​ ​errors​ ​occurred.​ ​See​ ​Exhibit​ ​GG​.

           146.      It is clear that neither Bayview nor M&T performed a reasonable investigation

  into the errors alleged by and through NOE #10 before claiming that no errors occurred by and

  through Response to NOE #10 as the findings of such directly contradict and undo the analysis

  and reasoning resulting in the short-lived corrections in response to NOE #9. Had M&T

  performed a reasonable investigation into the errors alleged by and through NOE #10, they

  would have readily discovered that the account was being erroneously deemed delinquent despite

  the​ ​previous​ ​corrections.​ ​ ​See​ ​Exhibit​ ​GG​.

           147.      To​ ​date​ ​Bayview​ ​and​ ​M&T​ ​have​ ​failed​ ​to​ ​respond​ ​to​ ​NOE​ ​#11.



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            148.      In failing to properly respond to NOE #2, NOE #3, NOE #10, and NOE #11,

  M&T and Bayview committed a separate and distinct violation of 12 C.F.R. § 1024.35 for each

  such​ ​notice​ ​of​ ​error​ ​to​ ​which​ ​they​ ​failed​ ​to​ ​properly​ ​respond.

            149.      Defendants’ actions are part of a pattern and practice of behavior in conscious

  disregard​ ​for​ ​Borrowers’​ ​rights​ ​and​ ​Defendants’​ ​obligations​ ​pursuant​ ​to​ ​Regulation​ ​X.

            150.      As a direct and proximate result of Defendants’ actions, Borrowers have suffered

  actual damages including but not limited to incurring legal fees to retain Counsel to continuously

  assist in bringing Defendants’ errors to their attention and ultimately to prepare, file, and

  prosecute this case to remedy Defendants’ wrongful conduct. Moreover, but-for Defendants’

  failure to reasonably investigation and properly and permanently correct the errors alleged by

  and through the notices of error, Borrowers would not have had to send follow-up notices of

  error and incur fees, costs, and expenses in preparing and mailing the same by and through

  Certified U.S. Mail. For example, but-for Defendants’ failure to properly respond to NOE #10,

  Borrowers would not have had to prepare and send NOE #11, with the same pattern repeating for

  prior​ ​notice​ ​of​ ​error..

            151.      As a result of Defendants’ actions, Borrowers have suffered, and continue to

  suffer, significant damages including other legal expenses, other economic loss, as well as

  anxiety,​ ​loss​ ​of​ ​sleep,​ ​and​ ​emotional​ ​and​ ​mental​ ​distress​ ​as​ ​further​ ​outlined,​ ​supra​.

            152.      As a result of Defendants’ actions, Defendants are liable to Borrowers for actual

  damages,​ ​statutory​ ​damages​ ​costs,​ ​and​ ​attorneys’​ ​fees.

                                         COUNT​ ​TWO:​ ​AGAINST​ ​M&T
                                       VIOLATIONS​ ​OF​ ​12​ ​C.F.R.​ ​§​ ​1024.35

         [Failure​ ​to​ ​properly​ ​respond​ ​to​ ​NOE​ ​#1,​ ​NOE​ ​#4,​ ​NOE​ ​#5,​ ​NOE​ ​#6,​ ​and​ ​NOE​ ​#7]


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            153.       Borrowers restate and incorporate herein all of their statements and allegations

  contained in the paragraphs one (1) through one hundred twenty-seven (130) in their entirety, as

  if​ ​fully​ ​rewritten.

            154.       12 C.F.R. § 1024.35(a) provides that a “servicer shall comply with the

  requirements of this section for any written notice from the borrower that asserts an error and

  that includes the name of the borrower, information that enables the servicer to identify the

  borrower's​ ​mortgage​ ​loan​ ​account,​ ​and​ ​the​ ​error​ ​the​ ​borrower​ ​believes​ ​has​ ​occurred.”

            155.       Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R. § 1024.35(a)

  provides that “[a] notice of error is submitted by a borrower if the notice of error is submitted by

  an​ ​agent​ ​of​ ​the​ ​borrower.

            156.       12 C.F.R. § 1024.35(e)(1) provides that a servicer must respond to a notice of

  error by either “[c]orrecting the error or errors identified by the borrower and providing the

  borrower with a written notification of the correction, the effective date of the correction, and

  contact information, including a telephone number, for further assistance” or “[c]onducting a

  reasonable investigation and providing the borrower with a written notification that includes a

  statement that the servicer has determined that no error occurred, a statement of the reason or

  reasons for this determination, a statement of the borrower's right to request documents relied

  upon by the servicer in reaching its determination, information regarding how the borrower can

  request such documents, and contact information, including a telephone number, for further

  assistance.”

            157.       NOE #1, NOE #4, NOE #5, NOE #6, and NOE #7 each meet the requirements of

  a​ ​notice​ ​of​ ​error​ ​as​ ​defined​ ​by​ ​12​ ​C.F.R.​ ​§​ ​1024.35(a).​ ​See​ ​Exhibits​ ​T,​ ​U,​ ​V,​ ​and​​ ​X​.



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            158.        Borrowers sent NOE #1, NOE #4, NOE #5, NOE #6, and NOE #7, to M&T at

  their respective self-designated addresses for the receipt of notices of error pursuant to 12 C.F.R.

  §​ ​1024.35(c)​ ​and​ ​M&T​ ​received​ ​each​ ​of​ ​the​ ​same​ ​at​ ​such​ ​addresses.​ ​See​ ​Exhibits​ ​T,​ ​U,​ ​V,​ ​and​​ ​X​.

            159.        M&T failed to properly respond to NOE #1, NOE #4, NOE #5, NOE #6, and

  NOE #7 for various reasons and committed a violation of 12 C.F.R. § 1024.35 for each such

  notice​ ​of​ ​error​ ​to​ ​which​ ​Defendants​ ​failed​ ​to​ ​properly​ ​respond.

            160.        Response to NOE #1 is insufficient to comply with 12 C.F.R. § 1024.35(e)(1)(A)

  in regards to the alleged errors concerning the misapplication of mortgage payments as M&T did

  not admit that any such errors occurred, only admitting their failure to send mortgage statements.

  See​ ​Exhibit​ ​F​.

            161.        Response to NOE #1 is insufficient to comply with 12 C.F.R. § 1024.35(e)(1)(B)

  in regards to the alleged errors concerning the misapplication of mortgage payments as M&T did

  not​ ​make​ ​any​ ​reference​ ​to​ ​these​ ​in​ ​Response​ ​to​ ​NOE​ ​#1​ ​whatsoever.​ ​See​ ​Exhibit​ ​F​.

            162.        It is clear that M&T did not perform a reasonable investigation into the errors

  alleged by and through NOE #1 as had M&T conducted a reasonable investigation, M&T would

  have readily determined that the Borrowers had been in full compliance with their obligations

  under the Loan and that payments had been misapplied as Defendants agreed in response to NOE

  #9​ ​.See​ ​Exhibit​ ​CC​ ​and​ ​DD​.

            163.        But-for M&T’s failure to properly respond to NOE #1, Borrowers would not have

  had to incur costs and expenses to prepare and send any subsequent notices of error in an attempt

  to​ ​have​ ​M&T​ ​correct​ ​their​ ​servicing​ ​errors.




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            164.      NOE #5 alleged that M&T committed errors in the servicing of the Loan by

  failing to send written notice acknowledging receipt of the NRRG RFIs within five (5) business

  days​ ​of​ ​receipt​ ​thereof​ ​in​ ​violation​ ​of​ ​ ​12​ ​C.F.R.​ ​§​ ​1024.36(c).​ ​See​ ​Exhibit​ ​T​.

            165.      NRRG received the NRRG RFI Acknowledgment on or about November 28,

  2015 which in essence corrected the errors alleged by and through NOE #5, but M&T did not

  send written notice admitting an error occurred and the effective date of the correction or

  alternatively,​ ​stating​ ​that​ ​no​ ​error​ ​occurred.​ ​See​ ​Exhibit​ ​W​.

            166.      M&T failed to send any written notice in response to NOE #5 that complied with

  the​ ​express​ ​requirements​ ​of​ ​12​ ​C.F.R.​ ​§§​ ​1024.35(e)(1)(A)​ ​or​ ​(e)(1)(B).

            167.      NOE #4, NOE #6, and NOE #7 each alleged that M&T committed errors in the

  servicing of the Loan by continually claiming that the Borrowers were delinquent in their

  obligations under the Loan by claiming they were at least one (1) month in arrears and by

  subsequently​ ​imposing​ ​late​ ​fees​ ​and​ ​other​ ​charges​ ​against​ ​the​ ​Loan.​ ​ ​See​ ​Exhibits​ ​T​,​ ​V​,​ ​and​ ​X​.

            168.      M&T failed to send written notice in response to NOE #4, NOE #6, and NOE #7,

  admitting that all of the errors occurred, correcting such errors, and stating the effective date of

  the corrections in compliance with 12 C.F.R. §§ 1024.35(e)(1)(A), as M&T did not correct the

  alleged errors, continued to claim the Borrowers were delinquent in their obligations, and

  continued​ ​to​ ​impose​ ​late​ ​fees​ ​and​ ​other​ ​charges​ ​against​ ​the​ ​Loan.

            169.      It is clear that M&T did not perform a reasonable investigation into the errors

  alleged by and through NOE #4, NOE #6, and NOE #7, as had M&T conducted a reasonable

  investigation, M&T would have readily determined that the Borrowers had been in full




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  compliance with their obligations under the Loan and that payments had been misapplied as

  Defendants​ ​agreed​ ​in​ ​response​ ​to​ ​NOE​ ​#9.​ ​See​ ​Exhibit​ ​CC​ ​and​ ​DD​.

            170.      In failing to properly respond to NOE #1, NOE #4, NOE #5, NOE #6, and NOE

  #7, M&T committed a separate and distinct violation of 12 C.F.R. § 1024.35 for each such notice

  of​ ​error​ ​to​ ​which​ ​they​ ​failed​ ​to​ ​properly​ ​respond.

            171.      But-for M&T’s failure to reasonably investigation and properly and permanently

  correct the errors alleged by and through NOE #4, NOE #6, and NOE #7, Borrowers would not

  have had to send follow-up notices of error and incur fees, costs, and expenses in preparing and

  mailing​ ​the​ ​same​ ​by​ ​and​ ​through​ ​Certified​ ​U.S.​ ​Mail,​ ​including​ ​but​ ​not​ ​limited​ ​to​ ​NOE​ ​#9.

            172.      M&T’s actions are part of a pattern and practice of behavior in conscious

  disregard​ ​for​ ​Borrowers’​ ​rights​ ​and​ ​M&T’s​ ​obligations​ ​pursuant​ ​to​ ​Regulation​ ​X.

            173.      As a direct and proximate result of M&T’s actions, Borrowers have suffered

  actual damages including but not limited to incurring legal fees to retain Counsel to continuously

  assist in bringing M&T’s errors to their attention and ultimately to prepare, file, and prosecute

  this​ ​case​ ​to​ ​remedy​ ​M&T’s​ ​wrongful​ ​conduct.

            174.      As a result of M&T’s actions, Borrowers have suffered, and continue to suffer,

  significant damages including other legal expenses, other economic loss, as well as anxiety, loss

  of​ ​sleep,​ ​and​ ​emotional​ ​and​ ​mental​ ​distress​ ​as​ ​further​ ​outlined,​ ​supra​.

            175.      As a result of M&T’s actions, M&T is liable to Borrowers for actual damages,

  statutory​ ​damages​ ​costs,​ ​and​ ​attorneys’​ ​fees.

                                       COUNT​ ​ ​THREE:​ ​AGAINST​ ​M&T
                                     VIOLATIONS​ ​OF​ ​12​ ​C.F.R.​ ​§​ ​1024.36(c)
                                   [Failure​ ​to​ ​timely​ ​acknowledge​ ​NRRG​ ​RFIs]



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            176.      Borrowers restate and incorporate herein all of their statements and allegations

  contained in the paragraphs one (1) through one hundred twenty-seven (130) in their entirety, as

  if​ ​fully​ ​rewritten.

            177.      12 C.F.R. § 1024.36(a) provides that “[a] servicer shall comply with the

  requirements of this section for any written request for information from a borrower that includes

  the name of the borrower, information that enables the servicer to identify the borrower’s

  mortgage loan account, and states the information the borrower is requesting with respect to the

  borrower’s​ ​mortgage​ ​loan.”

            178.      Comment 1 of the Official Interpretations of the CFPB to 12 C.F.R. § 1024.36(a)

  provides that “[a]n information request is submitted by a borrower if the information request is

  submitted​ ​by​ ​an​ ​agent​ ​of​ ​the​ ​borrower.”

            179.      12 C.F.R. § 1024.36(c) provides that a servicer must acknowledge in writing

  receiving​ ​an​ ​information​ ​request​ ​from​ ​a​ ​borrower​ ​within​ ​five​ ​(5)​ ​days​ ​of​ ​receipt.

            180.      Borrowers sent each of the three (3) NRRG RFIs to M&T via Certified U.S. Mail

  to M&T’s self-designated address for the receipt of requests for information pursuant to 12

  C.F.R.​ ​§​ ​1024.36(b).​ ​See​ ​Exhibits​ ​Q,​ ​R,​ ​and​ ​S​.

            181.      M&T​ ​received​ ​the​ ​each​ ​of​ ​the​ ​NRRG​ ​RFIs​ ​on​ ​November​ ​6,​ ​2015.

            182.      M&T failed to send written notice to Borrowers acknowledging receipt of each of

  the NRRG RFIs within five (5) business days of their receipt of the same on or about November

  6,​ ​2015.




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            183.      Although the NRRG RFI Acknowledgment was dated November 5, 2015, such

  correspondence could not have been generated on such date as M&T did not receive the NRRG

  RFIs​ ​until​ ​the​ ​following​ ​day.

            184.      M&T clearly did not send the NRRG RFI Acknowledgment within five (5)

  business days of November 6, 2015 because the NRRG RFI Acknowledgment did not reach

  NRRG until November 28, 2015. Had the NRRG RFI Acknowledgment been timely sent, NRRG

  would​ ​have​ ​received​ ​it​ ​sooner​ ​than​ ​November​ ​28,​ ​2015.

            185.      M&T’s actions in failing to send written notices acknowledging receipt of each of

  the​ ​NRRG​ ​RFIs​ ​constitute​ ​clear​ ​violations​ ​of​ ​12​ ​C.F.R.​ ​§​ ​1024.36(c).

            186.      As a result of M&T’s failure to timely acknowledge the NRRG RFIs, Borrowers

  have suffered actual damages as detailed, ​supra​, including but not limited to the fact that

  Borrowers were caused to incur fees and costs to draft and send NOE #5 to M&T via Certified

  U.S.​ ​Mail​ ​that​ ​Plaintiff​ ​would​ ​not​ ​have​ ​incurred​ ​but​ ​for​ ​M&T’s​ ​failure.​ ​See​ ​Exhibit​ ​T​.

            187.      M&T’s actions are believed to be part of a pattern and practice of behavior in

  conscious​ ​disregard​ ​for​ ​Borrowers’​ ​rights.

            188.      As a result of M&T’s actions, M&T is liable to Borrowers for actual damages,

  statutory​ ​damages,​ ​costs,​ ​and​ ​attorneys’​ ​fees.

                     COUNT​ ​ ​FOUR:​ ​AGAINST​ ​M&T​ ​&​ ​BAYVIEW
        VIOLATIONS​ ​OF​ ​FLORIDA​ ​CONSUMER​ ​COLLECTIONS​ ​PRACTICES​ ​ACT
                            (“FCCPA”),​ ​FLA.​ ​STAT.​ ​§​ ​559.72(9)

                     (Attempting​ ​to​ ​enforce​ ​a​ ​debt​ ​knowing​ ​the​ ​debt​ ​is​ ​not​ ​legitimate)




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            189.        Borrowers restate and incorporate herein all of their statements and allegations

  contained in the paragraphs one (1) through one hundred twenty-seven (130) in their entirety, as

  if​ ​fully​ ​rewritten.

            190.        At all relevant times, M&T and Bayview were each a person as defined by Fla.

  Stat.​ ​§​ ​559.55.

            191.        At all relevant times, Defendants were seeking to collect from Borrowers a debt

  arising from a transaction incurred primarily for personal, family or household purposes, the

  Loan​ ​for​ ​the​ ​Home.

            192.        At all relevant times Defendants attempted to enforce a consumer debt from

  Borrowers with knowledge that the debt is not legitimate in violation of Fla. Stat. § 559.72(9).

  Specifically, despite receiving notice from Borrowers and their agents on multiple occasions

  over the course of nearly two (2) years that Borrowers were current on the Loan and providing

  information and documents in support thereof, Defendants attempted to collect charges

  Borrowers​ ​did​ ​not​ ​owe.

            193.        As a result of Defendants’ actions, Defendants are liable to Borrowers for actual

  damages,​ ​statutory​ ​damages,​ ​costs,​ ​and​ ​attorneys’​ ​fees.

                                                PRAYER​ ​FOR​ ​RELIEF

            WHEREFORE ​Plaintiffs Donna Finkel and John Civetti, respectfully request that this

  Court enter an order granting Judgment against Defendant M&T Bank and Defendant Bayview

  Loan​ ​Servicing,​ ​LLC,​ ​for​ ​the​ ​following:

       A. For actual damages, all costs and reasonable attorney fees against Defendants jointly and

            severally,​ ​as​ ​applicable,​ ​as​ ​to​ ​all​ ​allegations​ ​contained​ ​in​ ​Counts​ ​One​ ​and​ ​Four;



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      B. For actual damages, all costs and reasonable attorney fees against Defendant M&T Bank,

           as​ ​to​ ​all​ ​allegations​ ​contained​ ​in​ ​Counts​ ​Two​ ​and​ ​Three;

      C. For statutory damages of Two Thousand Dollars ($2,000.00) against Defendants for each

           and​ ​every​ ​violation​ ​of​ ​12​ ​C.F.R.​ ​§1024.35​ ​contained​ ​in​ ​Count​ ​One.

      D. For statutory damages of Two Thousand Dollars ($2,000.00) against Defendant M&T

           Bank​ ​for​ ​each​ ​and​ ​every​ ​violation​ ​of​ ​12​ ​C.F.R.​ ​§1024.35​ ​contained​ ​in​ ​Count​ ​Two.

      E. For statutory damages of Two Thousand Dollars ($2,000.00) against Defendant M&T

           Bank​ ​for​ ​each​ ​and​ ​every​ ​violation​ ​of​ ​12​ ​C.F.R.​ ​§1024.36​ ​contained​ ​in​ ​Count​ ​Three;

      F. For total statutory damages of One Thousand Dollars ($1,000.00) against Defendants for

           the​ ​violations​ ​of​ ​Section​ ​559.72(9)​ ​contained​ ​in​ ​Count​ ​Four;

      G. For​ ​all​ ​other​ ​relief​ ​this​ ​Court​ ​may​ ​deem​ ​just​ ​and​ ​proper

                                                      JURY​ ​DEMAND

           Borrowers​ ​respectfully​ ​demand​ ​a​ ​trial​ ​by​ ​jury​ ​on​ ​all​ ​such​ ​claims​ ​that​ ​may​ ​be​ ​so​ ​tried.

  Dated​ ​November​ ​22,​ ​2017.

  Respectfully​ ​Submitted,

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